      Case: 1:17-cv-09219 Document #: 166 Filed: 04/14/21 Page 1 of 1 PageID #:1170




                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF ILLINOIS

 MADELEINE YATES, on behalf of herself            )
 and other persons similarly situated,            )
                                                  )
          Plaintiff,                              )
                                                  )
 v.                                               )     Civil Action No. 1:17-cv-09219
                                                  )
 CHECKERS DRIVE-IN RESTAURANTS,                   )
 INC. and VIBES MEDIA, LLC,                       )
                                                  )
          Defendants.                             )
                                                  )

                                      FINAL JUDGMENT

         The Court has entered Final Approval of the parties’ Settlement. Accordingly, Plaintiff’s

and the Settlement Class Members’ claims against Checkers Drive-In Restaurants, Inc. and Vibes

Media, LLC are hereby DISMISSED WITH PREJUDICE, and this Final Judgment shall issue

consistent with Federal Rule of Civil Procedure 58.


IT IS SO ORDERED.

DATED this 14 day of April, 2021.



                                                      By _____________________________
                                                            Sunil R. Harjani
                                                            U.S. Magistrate Judge
